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IN THE UNITED STATES DISTRICT COURT 409

FoR THE WESTERN DISTRICT oF TENNESSEE% 5 46,
EASTERN DIvlsioN /,Yl'¢’“ ‘2'

 

BRYAN SAMUEL MOONEY, a minor,
by and through his biological mother,
LISA MOONEY; LISA MOONEY,
lndividually,

No. 1104-1 l90-JDT~An
Plaintif`fs,

VS.
SUSAN WALLACE, ]ndividually;

HENDERSON COUNTY BOARD OF

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EDUCATION, )
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Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT SUSAN
WALLACE’S MOTION TO DISMISS

 

Plaintiffs, Bryan Samuel Mooney and his mother, brought this action initially in the
Circuit Court for Henderson County, Tennessee, against Defendants Susan Wallace and the
Henderson County Board of Education. Plaintiffs alleged negligence, assault, battery,
intentional and negligent infliction of emotional distress, and violations of Bryan’s civil
rights under 42 U.S.C. § 1983. On August 16, 2004, Def`endant Henderson County Board
of Education (“the Board”) removed the case to this court pursuant to 28 U.S.C. § 1441.
Susan Wallace now moves to dismiss Plaintiffs’ § 1983 claims that are based upon the

Fourth and Eighth Amendments. F or the following reasons, Susan Wallace’s motion to

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dismiss Plaintiffs’ Eighth Amendment claim is GRANTED and her motion to dismiss

Plaintiffs’ Fourth Amendment claim is DENIED.

l.

Bryan Sarnuel Mooney and his mother, Lisa Mooney (collectively “Plaintiffs”), are
residents of Henderson County, Tennessee. At the time of the events leading to this lawsuit,
Bryan was four (4) years old. (E Pls.’ Compl. at 111 l, 8, 14). During late 2003, Bryan
began attending preschool at Beaver Elernentary School in Henderson County. (§z_e Pls.’
Compl. at ‘|Hl 7, 8). Because he suffered from a speech impediment that interfered With his
ability to communicate, Bryan was a “special needs” student and the school placed him in
a special education classroom. (E Pls. ’ Compl. at W 9, 10, l 1). Defendant Susan Wallace
(“Wallace”) was the teacher who Was assigned to this special education classroom. (w Pls.
Compl. at ll 14).

According to Plaintiffs, as soon as Bryan began attending Wallace’s class, Wallace
engaged in various forms of abuse directed toward Bryan and other students Specif`ically,
P]aintiffs claim that Wallace took advantage of her disciplinary authority over Bryan and the
other students by, among other things, screaming at Bryan uncontrollably and on a daily
basis, taping Bryan’s mouth shut so that he could not talk and holding him down so that he
could not move, punishing him for “missing the toilet” and for not flushing it, striking him

with inappropriate objects such as flyswatters, hitting him with her hands, and committing

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“other inappropriate and dangerous acts and disciplinary measures.” (E Pls.’ Compl. at
‘|l 16). Plaintiffs have also suggested that Wallace may have required Bryan and other
students to “drink water from a toilet.” (&:_e Pls.’ Mem. Opp.Wallace’s Mot. to Dismiss at
2). These alleged misdeeds took place on an uninterrupted basis until early to mid-2004,
when the Board removed Wallace as a result of a related criminal investigation (S_e;_: Pls.’
Compl, at1l 14).

Bryan filed suit in state court through his mother, who also brought an action in her
individual capacity. (E Compl.). Plaintiffs named Wallace and the Board as Dcfendants.
Plaintift`s asserted claims under state tort law and under 42 U.S.C. § 1983. The Board then
removed Plaintiffs’ claims to this court.

Before the court is a motion, by Wallace, to dismiss two of Plaintiffs’ § 1983 claims.
Wallace first moves to dismiss Plaintiffs’ claim that her alleged actions constitute “cruel and
unusual punishment” under the Eighth Amendment. Wallace argues that the Eighth
Amendment is simply an improper constitutional framework within which to consider the
abusive conduct of a public school teacher toward her students. Second, Wallace seeks
dismissal of Plaintiffs’ civil rights claim in so far as it is premised upon the Fourth
Arnendment. ln particular, Wallace contends that, because the “principal concern” of the
Fourth Amen_dment is “intrusions on privacy in the course of criminal investigations,” (se_e
Wallace’s Mem. Supp. Mot. to Dismiss at 2), the Fourth Amendment does not operate to

protect public school students from excessive force inflicted upon them by public school

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teachers who abuse their disciplinary authority. Plaintiffs’ have responded to both of these

arguments. (§_e_e Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3_6).

Il.

Wallace’s motion to dismiss is governed by Rule 12 ofthe Federal Rules of Civil
Procedure. Rule 12 provides for dismissal of an action when the complaint “fails to state
a claim upon which relief can be granted.” FED. R. CIV. P. lZ(b)(6). When deciding a
12(b)(6) motion to dismiss, the court “must construe the complaint in the light most
favorable to the plaintiff, accept all factual allegations as true, and determine whether the
plaintiff undoubtedly can prove no set of facts in support of [the] claims that would entitle
[the plaintiff] to relief.” Cline v. Rogers, 87 F.3d 176, 179 (6"1 Cir. 1996).

A person who sues under § 19831 must establish two elements to prevail First, the
plaintiff must show that he was deprived of a right secured by the United States Constitution
or the laws of the United States. Second, he must demonstrate that he was subjected or

caused to be subjected to the constitutional deprivation by a person acting under color of

 

]§ 1983 provides, in relevant part, that,

[e]very person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the
District of Columbia, subjects, or causes to be subjected, any
citizen of the United States or other person within the jurisdiction
thereof to the deprivation of any n`ghts, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party
injured.

42 U.S.C. § 1983.

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state law. Davenport v. Simmons, 192 F. Supp.2d 812, 817~18 (W.D. Tenn. 2001) (citing
Searcv v. Citv of Davton, 38 F.3d 282, 286 (6th Cir. 1994) (citing Flagg Bros. v. Brooks,
436 U.S. 149, 155 (1978))). Here, the issue is Whether the allegations of the complaint,
taken as true and viewed in Plaintiffs’ favor, would constitute a violation of “a right [or

rights] secured by the United States Constitution” and remediable under § 1983.

lll.
A. The Eighth Amendment

The Eighth Amendment to the United States Constitution provides that, “[e]xcessive
bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishments
injlicted.” U.S. CONST. amend. VIII2 (emphasis added). The Supreme Court has concluded
that only a certain subcategory of “cruel and unusual” government behavior, or
“punishment,” violates the Eighth Amendment as opposed to some other constitutional
provision or to none at all. See, e.g., lngraham v. Wright, 430 U.S. 651 (1977).
Specifically, the Court has held that government conduct is not to be scrutinized under the
amendment unless and until the government has secured a formal adjudication of the

“punished” person’s guilt in a criminal prosecution _Sg M. at 671 n.40 (citing United States

 

2The amendment is applicable to the states and to state actors by virtue of the Due Process
Clause of the Fourteenth Amendment _Sg U.S. CONST. amend. XIV, § 1 (“No State shall . . .
deprive any person of life, liberty, or property, without due process of law.”); Robinson v.
California, 370 U.S. 660, 666 (1962); Louisiana ex. rel. Francis v. Resweber, 359 U.S. 459, 463
(1947).

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v. Lovett, 328 U.S. 303, 317-18 (1946). The Court’s reasoning was grounded in the text
and history of the amendment as well as in prior precedent l_d. at 664-68 (noting that the
“primary purpose of [the Cruel and Unusual Punishments Clause] has always been
considered, and properly so, to be directed at the method or kind of punishment imposed for
violation of criminal statutes”) (quoting Powell v. TeXas, 392 U.S. 514, 531-32 (1968)).

Despite the obvious meaning of lngraham as applied to the facts of this case,
Plaintiffs nonetheless argue that this court should either factually distinguish this case or
“change . . . the law.” Plaintiffs first argue that what Wallace allegedly did to Bryan was
subjectively more “cruel and unusual” than what happened to the petitioners in Ingraham.
(_Sg Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3-4). Those petitioners, however,
claimed state conduct that was far more egregious than Plaintiffs acknowledge One
petitioner claimed that two assistant principals had grabbed him and hit him twenty (20)
times with a paddle, and the other petitioner claimed that he had been paddled on his arm,
back, neck, and wrist. See _lnLaharn v .Wright, 525 F.2d 909, 911 (5lh Cir. 1976), Lf:d, 430
U.S. 651 (1977). Thus, contrary to Plaintiffs’ attempt to draw a distinction between “mere”
corporal punishment and “cruel and unusual” corporal punishment, In graham did not base
its decision on any such distinction but instead simply held the Eighth Amendment
inapplicable to punishment, of whatever severity, inflicted by public school officials

exercising disciplinary authority in the public school system, lngraham v. Wright, 430 U.S.

651,671(1977).

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Plaintiffs also point out that lngraham was decided almost three (3) decades ago and
that only five (5) Justices signed the majority opinion limiting the Eighth Amendment to the
post-conviction treatment of criminal offenders (_S_Y Pls,’ Mem. Opp. Wallace’s Mot. to
Dismiss at 4). Apparently, Plaintiffs consider the length of time that has transpired since
lngraham was decided as a factor that would justify changing instead of adhering to
precedent Even if the court agrees, neither time nor a persuasive dissent would permit this
court to disregard an unambiguous and applicable decision of the Supreme Court.

Last, Plaintiffs contend that, because of “the evolution of` our society,” the Supreme
Court would likely hold that the abuse alleged in this case was cruel and unusual and
violated the Eighth Amendment (_S_ee_ Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 4).
In other words, Plaintiffs insist that society in 1977 may have tolerated screaming at a
student, taping his mouth shut and holding him down to subdue him, striking him with
flyswatters and bare hands, and/or forcing him to drink from a commode, but that society
in 2005 would necessarily condemn such conduct by a public school teacher. This argument
is not persuasive because it confuses the question of whether the Eighth Amendment is even
a relevant limit on particular government conduct with the question of whether conduct
admittedly governed by the Eighth Amendment (such as the execution of a prisoner) has
become “cruel and unusual” under society’s “evolving standards of decency.” §§
lngraham, 430 U.S. at 668 n.36 (noting that the concept of cruel and unusual criminal

punishment may “become[] enlightened by a humane justice”); see also Roper v. Simmons,

as

125 S.Ct. 1183, 1190 (2005) (discussing “evolving standards of decency” in the death
penalty context). This case is concerned only with the first question, and the answer to that
question is controlled by lngraham and not amenable to any evolving standards other than
those enunciated by the Supreme Court itself.

lndeed, the factual allegations of Plaintiffs’ complaint do accuse Wallace of serious,
severe, “cruel and unusual” conduct (§e§ Pls. Compl. and Mem. Opp. Wallace’s Mot. to
Dismiss). Viewing those accusations in Plaintiffs’ favor, the conduct was also arguably
imposed as some form of “punishment” against Bryan. Notwithstanding and assuming all
of this, such punishment by this defendant simply does not implicate the Eighth Amendment
The “plaintiff undoubtedly can prove no set of facts in support of [the] [Eighth Amendment]
claims that would entitle [the plaintiff] to relief.” §ee Cline v. Rogers, 87 F.3d 176, 179 (6th
Cir. 1996) (second brackets added).

Accordingly, Wallace’s Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Eighth

Amendment claim is GRANTED.

B. The Fourth Amendment
Wallace also seeks dismissal of Plaintiffs’ federal claims to the extent that those
claims are premised upon the Fourth Amendment proscription against “unreasonable . . .
seizures.” Even though Plaintiffs allege that Wallace restrained Bryan by, for instance,

taping his mouth shut and holding him down, the Complaint does not mention the Fourth

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Amendment as a § 1983 predicate Because Plaintiffs have not even made that claim, this
court cannot dismiss it. Therefore, Wallace’s 12(b)(6) Motion to Dismiss the non-existent

portion of these Plaintiffs’ complaint is DENIED.

IV.
For the foregoing reasons, Wallace’s Motion to Dismiss Plaintiffs’ Eighth
Amendment claim is GRANTED and her Motion to Dismiss Plaintiffs’ Fourth Amendment
claim is DENIED.

lT IS SO ORDERED.

Qawz>,;wa

JAM D. TODD
UNI D STATES DISTRICT JUDGE

M&J; aw$'

DATE 4

 

 

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This notice confirms a copy of the document docketed as number 48 in
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